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                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF CALIFORNIA p j                           pD

 UNITED STATES OF AMERICA,                                                         FEB 21 WH05 34
                                                             Case No. 14CR29T|ffJI^s, MSTRietTMlfi
                                                                                        Of CAWftRNIA

                                       Plaintiff,                                                deputy
                                                                             HY
                       VS.
                                                             JUDGMENT OF DISMISSAL
 DOUGLAS TUMLINSON (2)



                                    Defendant.

IT APPEARING that the defendant is now entitled to be discharged for the reason that:

      Remand U.S. Court of Appeals, Previously Imposed Sentence is Hereby Set Aside and
      Vacated, and

      an indictment has been filed in another case against the defendant and the Court has
      granted the motion of the Government for dismissal of this case, without prejudice; or

      the Court has dismissed the case for unnecessary delay; or

X     the Court has granted the motion of the Government for dismissal, without prejudice; or

      the Court has granted the motion of the defendant for a judgment of acquittal; or
      a jury has been waived, and the Court has found the defendant not guilty; or

      the jury has returned its verdict, finding the defendant not guilty;

X     of the offense(s) as charged in the Indictment.




            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.

Dated: 1/27/2017
                                                    V
                                                        PCiaoM _
                                                        Hon. Janis L. Sammartino
                                                        United States District Judge
